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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

YIELD NATION, LLC,

AND

BENJAMIN BUCKWALTER,
Plaintiffs,

Cause No.

VS.

ADAM CLARK and
AMANDA CLARK

AND

KEVIN SCHWERS and
AMELIA SCHWERS

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Defendants.

PLAINTIFFS’ MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FORA
TEMPORARY RESTRAINING ORDER

COMES NOW, Plaintiffs, YIELD NATION, LLC and BENJAMIN BUCKWALTER,
by and through counsel, Andrew H. Koor, and for their Memorandum in Support of
Their Motion for a Temporary Restraining Order, state to the court as follows:

1. That Plaintiffs have instituted herein a Petitioner for Damages Slander.

2. That irreparable harm to the Plaintiffs, by the Defendants is immenent, in
that since May 1, 2020, out of anger and intention to harm, the Defendants have begun
contacting the customers of the Plaintiffs and did maliciously and in reckless disregard
for the truth make false statements about the Plaintiffs that include, but are not limited
to:

a. That the Defendant’s claimed they owned Nutriplant;
b. That the Plaintiff, BENJAMIN BUCKWALTER, was fired from

Nutriplant in October of 2019;
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3.

are false.

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That the Defendants claimed they worked for Yield Nation, LLC;
That the Plaintiff, BENJAMIN BUCKWALTER, was fired from Yield
Nation in October of 2019;

That the Plaintiff, BENJAMIN BUCKWALTER,, is a scam artist:
That the Plaintiff, BENJAMIN BUCKWALTER,, is a drug addict;
That the Defendants have claimed they were the owners or
employees of Nutriplant and that they were investigating the
Plaintiffs for selling untested products that will hurt the customer
crops;

That the products the Plaintiffs sell are missing proprietary
ingredients that make the product actually work;

That Yield Nation, LLC, products do not offer the same benefits of
Nutriplant;

That the Plaintiffs’ product will clog up sprayers;

That the product the Plaintiffs provided them was the wrong
product and that it was harmful;

That the Plaintiffs’ products are untested;

That the statements made by the Defendants to the Plaintiffs’ customers

Defendant's are aware that their statements to the Plaintiffs’ customers

That Defendants deliberately made their false accusation in an effort to

subject Plaintiffs to public ridicule, scorn, dishonor, and embarrassment in the business
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community given that their accusations indicated that Plaintiffs engaged in selling a
counterfeit product, an action regarded as a dangerous, dishonest, and underhanded
business practice.

6. That the Defendants deliberately made their false statements in an effort
to cause Plaintiffs direct and substantial financial damage in that the obvious and
intended result of such accusations was the Plaintiffs’ loss of current and future
customers and a loss of reputation.

Zz That if the Court does not issue a Temporary Restraining Order herein,
the Plaintiffs’ will suffer irreparable harm to their business.

8. That the Defendants continue to contact the customers of the Plaintiffs
and maliciously and in reckless disregard for the truth make false statements about the
Plaintiffs.

9. That as a direct result of the Defendants’ false statements to the Plaintiff's
customers, the Plaintiffs have suffered damage to their reputation, the Plaintiffs have
lost customers and have been forced to refund customers in the amount of
approximately One Hundred Thousand Dollars ($100,000.00) as of this filing.

10. That Plaintiffs have no adequate remedy at law.

11. That notice of the Petition for Damages Slander and Motion for
Temporary Injunction and Notice of Hearing on the Motion for Temporary Injunction has
been given to the Defendants, by regular and electronic mail simultaneously with the
filing of said Petition and Motion with the Court.

12. That Plaintiffs request that this court grant forthwith and with notice to
Defendants, a Temporary Restraining Order Preventing the Defendants, and all
persons acting on their behalf, from making any statements regarding the Plaintiffs to
any of the Plaintiffs’ current or prospective customers or business associates.

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WHEREFORE, for all of the above stated reasons, Plaintiff respectfully requests
that this Court grant their Motion for a Temporary Restraining Order against
Defendants; attorney fees and Court costs incurred herein; and for any and all other

relief this Court deems just and appropriate under the circumstances.

Benjamin Buckwalter, Plaintiff

Benjamin Buckwalter, member
Yield Nation, LLC

STATE OF MISSOURI )
) ss.
COUNTY OF ST. CHARLES _ )

Benjamin Buckwalter, of lawful age, being duly sworn on his oath, states that he
is the Plaintiff named in the above and foregoing Motion for Temporary Injunction, that
he has read same and that the statements contained therein are true according to his
best knowledge and belief.

ea _

Benjamin Buckwalter, Plaintiff

Subscribed and sworn to before me wisAl) day ofA , 2020

 

a February 27, 2024
¥ SL: St. Charles County Notary ‘Public
ZONE Commission #2456342
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STATE OF MISSOURI )
)SS. On this day of , 2026,
COUNTY OF ST. CHARLES )

before me appeared Benjamin Buckwalter to me personally known, who, being by me
duly sworn, did say that he is a member of Yield Nation, LLC, a Limited Liability
Company of the State of Missouri, and that said instrument was signed on behalf of
said Limited Liability Company and said Benjamin Buckwalter acknowledged said
instrument to be the free act and deed of said Limited Liability Company.

Benjamin Buckwalter, member
Yield Nation, LLC

Subscribed and sworn to before me this AD AAD day of M A uy , 2020.

 

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aR Pligye LINDA CAULFIELD
Se anh My Commission Expires Notary Public
rei ere IAS February 27, 2024
“By. SEAL “S= St. Charles County
“ADEN” Commission #2456342

 

 

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